Case 3:13-cv-01045-SI   Document 137-4   Filed 07/22/14   Page 1 of 10




                         Exhibit
                           86
Case 3:13-cv-01045-SI   Document 137-4   Filed 07/22/14   Page 2 of 10




                                                                         Ex.86-p.1
Case 3:13-cv-01045-SI   Document 137-4   Filed 07/22/14   Page 3 of 10




                         Exhibit
                           87
Case 3:13-cv-01045-SI   Document 137-4   Filed 07/22/14   Page 4 of 10




                                                                         Ex.87-p.1
Case 3:13-cv-01045-SI   Document 137-4   Filed 07/22/14   Page 5 of 10




                                                                         Ex.87-p.2
Case 3:13-cv-01045-SI   Document 137-4   Filed 07/22/14   Page 6 of 10




                                                                         Ex.87-p.3
Case 3:13-cv-01045-SI   Document 137-4   Filed 07/22/14   Page 7 of 10




                                                                         Ex.87-p.4
Case 3:13-cv-01045-SI   Document 137-4   Filed 07/22/14   Page 8 of 10




                                                                         Ex.87-p.5
Case 3:13-cv-01045-SI   Document 137-4   Filed 07/22/14   Page 9 of 10




                         Exhibit
                           88
Case 3:13-cv-01045-SI   Document 137-4   Filed 07/22/14   Page 10 of 10




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